Filed 06/22/16                                    Case 15-14228                                              Doc 113


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES


    Case Title :        Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                             Date : 06/22/2016
                                                                             Time : 09:30

    Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                        $176) (eFilingID: 5697015) (msam)


    Judge :             Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :        B                                              Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
                Debtor(s) Attorney − Glen E. Gates



    HEARING was :




    The motion for relief was denied without prejudice. The court adopted the findings made in the January 28,
    2016 civil minutes as follows:

    (a) Thus far uncontroverted evidence in opposition to the motion establishes a significant question as to the
    bona fides of debtor's signature on the note and deed of trust at issue;
    (b) Thus far uncontroverted evidence in opposition to the motion establishes significant dispute as to the
    payors under the promissory note at issue;
    (c) Movant's evidence of the promissory note includes ambiguous language as to the principal balance of
    the note;
    (d) Debtor's schedule D does not include the deed of trust at issue (Doc. # 1);
    (e) Debtor's schedules list movant as a creditor with a disputed and unliquidated unsecured claim of
    $133,000;
    (f) Thus far, movant has presented no evidence of imminent danger to the real property at issue, i.e.,
    waste, violations of the law, lack of insurance, impending tax sale, etc.; and
    (g) Debtor has instituted an adversary proceeding, 16−01009, which raises issues fundamental to the
    resolution of this motion. Judicial economy will be served by consolidating the claims of the parties and
    avoiding conflicting or staggered rulings.
